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UNITED STATES OF A|V|ER|CA 'U"‘-""m'

 

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05 'i`i‘l, §*.»i`:,.w’r}:~tl$
P|aintiff

VS.
CR. NO. O4-20294-D

DANNY |VICK|NNEY

Defendant.

 

ORDER ON CONT|NUANCE AND SF’ECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 19, 2005. At that time, counsel forthe
defendant requested a continuance of the |V|ay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to June 6, 2005 with a §po_rt
date of Thursdav. Mav19. 2005, at 9:00 a.m., in Courtroom 3. 9th F|oor ofthe Fec|era|
Bui|ding, l\/iemphisr TN.

The period from l\/iay 13, 2005 through June 17, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T iS SO ORDERED this §§ day Of Apri|, 2005.

QHZM@M,M

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Honorable Bernice Donald
US DISTRICT COURT

